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From:              Michael Gallant
To:                Douglas, Matthew J.; John Dalimonte; John Restaino
Subject:           Re: Expert report deadlines
Date:              Thursday, December 16, 2021 5:20:27 PM


External E-mail

Matt,

That works for us.  

Mike

Sent from my Verizon, Samsung Galaxy smartphone
Get Outlook for Android

From: Douglas, Matthew J. <Matthew.Douglas@arnoldporter.com>
Sent: Thursday, December 16, 2021 11:32:15 AM
To: John Dalimonte <john@drlawllp.com>; Michael Gallant <michael.gallant@drlawllp.com>; John
Restaino <restaino@drlawllp.com>
Subject: Expert report deadlines



   [EXTERNAL EMAIL] DO NOT CLICK links or attachments unless you recognize the sender and
   know the content is safe.


Gentlemen,

Would you be amenable to an additional two weeks for both sides’ expert reports? That would
move your deadline from New Year’s Eve day, 12/31/21, to 1/14/22, and ours from 2/14/22 to
2/28/22.

Please let me know if that works on your end.

Thanks,

Matt

_______________
Matthew Douglas
Partner

Arnold & Porter
1144 Fifteenth Street | Suite 3100
Denver, CO 80202-2569
T: +1 303.863.2315
Matthew.Douglas@arnoldporter.com | www.arnoldporter.com


                                                                                                  EXHIBIT 1
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